               Case 2:08-cv-01241-JAM-EFB Document 240 Filed 08/18/09 Page 1 of 5


           1    ROBERT A. RYAN, JR., County Counsel
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           2    [State Bar 178142]
                COUNTY OF SACRAMENTO
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                Sacramento, California 95814
           4    Telephone: (916) 874-5544
                Facsimile: (916) 874-8207
           5    File No.: 162.05A
           6    Attorneys for defendant John McGinness
           7
                                     IN THE UNITED STATES DISTRICT COURT
           8
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
           9
                                                  SACRAMENTO
          10
               VIDEO GAMING TECHNOLOGIES                     CASE NO.08-CV-01241-JAM-EFB
          11   INC., dba VGT Inc., a Tennessee
               Corporation; UNITED CEREBRAL                  STIPULATION TO EXTEND TIME
          12   PALSY OF GREATER SACRAMENTO,                  TO DISCLOSE EXPERT WITNESSES
               a California Non-Profit Corporation;          AND ORDER
          13   WIND Youth Services, a California Non-
               Profit Corporation; ROBERT FOSS, an
          14   individual; and JOAN SEBASTIANI an
               individual,                                   ASSIGNED FOR ALL PURPOSES
          15                                                 TO:
                      Plaintiff(s)                           HONORABLE JOHN A. MENDEZ
          16
               vs.
          17
               BUREAU OF GAMBLING CONTROL, a
          18   Law Enforcement Division of the
               California Department of Justice;
          19   MATHEW J. CAMPOY, in his Official
               Capacity As the Acting Chief of the
          20   Bureau of Gambling Control; and JOHN
               MCGINNESS, in His Official Capacity as
          21   the Sacramento County Sheriff,
                                                              Courtroom: 6
          22          Defendants(s).                          Trail Date: January 25, 2010
                                                              Action Filed: June 4, 2008
          23   CAPITAL BINGO, INC., a California
               Corporation, HAGGIN GRANT POST
          24   NO.
               521, THE AMERICAN LEGION,
          25   DEPARTMENT OF CALIFORNIA, a
               California nonprofit corporation, CASA
          26   ROBLE HIGH SCHOOL RAMSMEN;
               INCL., a California nonprofit corporation;
          27   And MARY BROWN, an individual,
          28          Intervenor.
                                                           -1-
                STIPULATION TO  EXTEND   TIME TO DISCLOSE EXPERT
PDF created with pdfFactory trial version www.pdffactory.com     WITNESSES AND ORDER
               Case 2:08-cv-01241-JAM-EFB Document 240 Filed 08/18/09 Page 2 of 5


           1
                      WHEREAS, on October 6, 2008, the Court entered the current Status (Pre-trial
           2
                Scheduling) Order (“Scheduling Order”). Among other things, the Scheduling Order
           3
                provided that disclosure of expert witnesses shall be made by July 10, 2009, and
           4
                disclosure of rebuttal experts shall be made by July 17, 2009. The Scheduling Order also
           5
                provided that discovery shall be completed by September 17, 2009;
           6
                      WHEARAS, on April 14, 2009, the Court granted the Motion for Preliminary
           7
                Injunction filed by Plaintiffs United Cerebral Palsy of Greater Sacramento, WIND Youth
           8
                Services, Robert Foss’s and Plaintiff/Intervenors’ Capital Bingo, Inc. Haggin Grant Post
           9
                No. 521, the American Legion, department of California, Mary Brown, and El Camino
          10
                Athletic Boosters Club (“Plaintiffs”) Motion for Preliminary Injunction, and on May 7,
          11
                2009, the Court entered its preliminary injunction restraining and enjoining Defendants
          12
                Bureau of Gambling Control, Matthew J. Campoy, and John McGinness (“Defendants”)
          13
                from taking enforcement actions against Plaintiffs;
          14
                      WHEREAS, on May 26, 2009, Defendant Bureau of Gambling Control filed its
          15
                Notice of Appeal;
          16
                      WHEREAS, on June 3, 2009, Defendant John McGuiness filed his Notice of
          17
                Appeal;
          18
                      WHEREAS, on July 1, 2009, Defendants filed their opening briefs in the Ninth
          19
                Circuit Court of Appeal;
          20
                      WHEREAS, on July 6, 2009, the parties entered into a stipulation to extend the
          21
                time in which to disclose experts and rebuttal experts to August 10, 2009, and August 17,
          22
                2009, respectively;
          23
                      WHEREAS on August 7, 2009, the parties entered into a stipulation to extend
          24
                time in which to disclose expert and rebuttal witnesses to August 17, 2009 and August
          25
                24, 2009 respectively;
          26
                      WHEREAS, on July 29, 2009, Plaintiff/Appellees and Intervenors filed their two
          27
                answering briefs of approximately 50 pages each in the Ninth Circuit Court of Appeals;
          28

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                STIPULATION TO  EXTEND   TIME TO DISCLOSE EXPERT
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               Case 2:08-cv-01241-JAM-EFB Document 240 Filed 08/18/09 Page 3 of 5


           1           WHEREAS, on August 12, 2009 Defendants/Appellants’ filed their Reply Briefs
           2    in the Ninth Circuit Court of Appeal;
           3           WHEREAS, the parties have scheduled a teleconference for August 17, 2009, to
           4    discuss discovery and possible stipulations;
           5           WHEREAS, the proposed expert witness retained by defendant McGinness has
           6    identified further potential additional areas of investigation for completion of her
           7    assessment;
           8           WHEREAS, the proposed expert witness retained by defendant McGinness is
           9    scheduled for an out of town deposition in an unrelated matter that will prohibit
          10    completion of her report by August 17, 2009;
          11           WHEREAS, and for good cause appearing, the parties hereby stipulate that:
          12           1.     Given the time and attention Defendants/Appellants devoted to the
          13    appellate proceedings with Appellants’ reply briefs filed on August 12, 2009 and the need
          14    for one expert to complete her report, the parties agree that a further extension of seven
          15    (7) days’ time form the currently scheduled time to disclose expert witnesses is
          16    necessary, from August 17 to August 24, 2009; and
          17           2.     The parties hereto further agree that an extension of seven (7), days time to
          18    disclose rebuttal experts shall also be made, from August 24, 2009 to August 31, 2009,
          19    for the same reasons.
          20    IT IS SO STIPULATED:
          21    Dated: August 14, 2009              Respectfully submitted,
          22                                        ROBERT A. RYAN, JR., County Counsel
          23                                        Sacramento County, California

          24                                            /s/ JOHN E. REED
                                                    BY: _______________________
          25
                                                       JOHN E. REED
          26                                           Deputy County Counsel
          27                                       ATTORNEY FOR DEFENDANT JOHN
          28                                       McGINNISS
                                                        -3-
                STIPULATION TO EXTEND TIME TO DISCLOSE EXPERT WITNESSES AND ORDER
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               Case 2:08-cv-01241-JAM-EFB Document 240 Filed 08/18/09 Page 4 of 5


           1
                Dated: August 14, 2009           NOSSAMAN LLP
           2
           3                                     /s/ SOPHIE-NICOLE FROELICH
                                                 BY__________________________
           4                                            SOPHIE-NICOLE FROELICH
           5
                                                 ATTORNEYS FOR PLAINTIFFS AND
           6                                     INTERVENORS UNITED CEREBRAL PALSY OF
                                                 GREATER SACRAMENTO, A CALIFORNIA NON-
           7                                     PROFIT CORPORATION; WIND YOUTH
           8                                     SERVICES, A CALIFORNIA NON-PROFIT
                                                 CORPORATION; ROBERT FOSS, AN
           9                                     INDIVIDUAL; AND CAPITAL BINGO, INC., A
                                                 CALIFORNIA CORPORATION; HAGGIN GRANT
          10
                                                 POST NO. 521, THE AMERICAN LEGION
          11                                     DEPARTMENT OF CALIFORNIA, A CALIFORNIA
                                                 NON-PROFIT CORPORATION; CASA ROBLE
          12                                     HIGH SCHOOL RAMSEMEN, INC., A
          13                                     CALIFORNIA NON-PROFIT CORPORATION;
                                                 MARY BROWN, AN INDIVIDUAL
          14
                Dated: August 14, 2009           LAW OFFICE OF K. GREG PETERSON
          15
          16                                     /s/ KENNETH GREGORY PETERSON.
                                                 BY:________________________________
          17                                           KENNETH GREGORY PETERSON
          18
                                                 ATTORNEYS FOR INTERVENOR PLAINTIFFS
          19                                     EL CAMINO ATHLETIC BOOSTER CLUB
          20    Dated: August 14, 2009           OFFICE OF THE ATTORNEY GENERAL JR.
          21                                     Attorney General of California
                                                 SARA J. DRAKE
          22                                     Supervising Deputy Attorney General
          23
                                                 /s/ WILLIAM L. WILLIAMS, JR.
          24                                     BY:________________________________
                                                     WILLIAM L. WILLIAMS, JR.
          25                                         Deputy Attorney General
          26
                                                 ATTORNEYS FOR DEFENDANTS BUREAU OF
          27                                     GAMBLING CONTROL AND MATHEW
                                                 CAMPOY
          28
                                                        -4-
                STIPULATION TO EXTEND TIME TO DISCLOSE EXPERT WITNESSES AND ORDER
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           1                                                        ORDER
           2          Based on the above stipulation and for good cause shown, the time in which the
           3    parties may serve their disclosures of expert witness information in accordance with this
           4    Court’s Scheduling Order is hereby extended as follows:
           5          1. The time by which all parties must make their expert witness disclosures under
           6    Federal Rule of Civil Procedure 26(a)(2) is extended from August 17, 2009 to August 24,
           7    2009; and
           8          2. The time by which supplemental disclosure and disclosure of any rebuttal experts
           9    under Federal Rule of Civil Procedure 26(a)(2)(c) by any parties must be completed is
          10    extended from August 24, 2009 to August 31, 2009.
          11
                        IT IS SO ORDERED.
          12
          13    Dated: August 17, 2009                                        /s/ John A. Mendez______________
          14                                                                  HONORABLE JOHN A. MENDEZ
                                                                              U.S. District Court Judge
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          28
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                STIPULATION TO EXTEND TIME TO DISCLOSE EXPERT WITNESSES AND ORDER
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